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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                    EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       )        CASE NUMBER: 1:07-CR-00243-OWW
                                                     )
11                             Plaintiff,            )
                                                     )        ORDER AFTER HEARING ON
12   v.                                              )        DEFENDANT LEM PHIN’s
                                                     )        COMPETENCY TO HAVE JUDGMENT
13   LEM PHIN,                                       )        IMPOSED
                                                     )
14                             Defendant.            )
                                                     )
15
16          This Court, having previously found defendant PHIN to be incompetent pursuant to 18 U.S.C.
17   section 4241on June 21, 2010, and having reviewed the report submitted by Warden Marty C.
18   Anderson of the U.S. Medical Center for Federal Prisoners at Springfield, Missouri which concludes
19   that defendant PHIN has not so improved such that he is competent to participate in the Court
20   proceedings, and he is not likely to improve in the foreseeable future, and having considered the
21   stipulation of counsel:
22          IT IS HEREBY ORDERED that defendant PHIN be returned to U.S. Medical Center for
23   Federal Prisoners at Springfield, Missouri for a risk assessment pursuant to 18 U.S.C. section 4246(a).
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25   DATED: May 24, 2011                           /s/ OLIVER W. WANGER
                                                   UNITED STATES DISTRICT COURT JUDGE
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